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                              SO ORDERED: February 5, 2020.




                              ______________________________
                              Robyn L. Moberly
                              United States Bankruptcy Judge




                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

IN RE:                                               CASE NO. 19-00219- RLM-13
RODERICK M CONVERSE

DEBTOR(S)




                       ORDER CONFIRMING DEBTOR(S)’ PLAN (DOC. 43)


   The debtor(s)’ plan (or amended plan), Doc. 43, having been filed on 11/19/2019 and having

been transmitted to creditors; and the trustee, after having conducted a meeting of creditors, has

reported to the Court as follows:

   1. That the plan complies with provisions of Chapter 13 and with other applicable provisions of

       the Bankruptcy Code;

   2. That any fee, charge or amount required to be paid by the Code or the plan prior to

       confirmation has been paid;
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3. That the plan has been proposed in good faith and not by any means forbidden by law;

4. That the value, as of the effective date of the plan, of the property to be distributed under the

     plan on account of each allowed unsecured claim is not less than the amount that would be

     paid on such claim if the estate of the debtor were liquidated under Chapter 7 of the

     Bankruptcy Code on such date;

5. That each holder of an allowed secured claim provided for by the plan(s): (a) has accepted

     the plan; (b) the plan provides that the holder of such claim retain the lien securing such

     claim until the earlier of the payments of the underlying debt determined under

     non-bankruptcy law or discharge under Section 1328, and if the case under this chapter is

     dismissed or converted without completion of the plan, such lien shall also be retained by

     such holder to the extent recognized by applicable non-bankruptcy law; further, the value, as

     of the effective date of plan, of property to be distributed under the plan on account of such

     claim is not less than the allowed amount of such claim and if property to be distributed to a

     lender holding a lien on debtor(s)’ personal property is in the form of periodic payments,

     such payments shall be in equal monthly amounts and the holder of such claim secured by

     personal property shall receive a payment level not less than an amount sufficient to provide

     to the holder of such claim adequate protection during the period of the plan; or (c) the

     debtor(s) shall have surrendered the property securing such claim to such holder;

6.   That the debtor(s) will be able to make all payments under the plan and to comply with the

     plan;
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   7.   That the action of the debtor in filing the petition was in good faith;

   8.    If applicable, a finding has been made on the record, or by affidavit, that the debtor has

        paid all amounts that are required to be paid under a domestic support obligation and that

        first become payable after the date of the filing of the petition if the debtor is required by a

        judicial or administrative order, or by statute, to pay such domestic support obligation;

   9. That the debtor(s) has filed all applicable federal, state and local tax returns as required by

        Section 1308, as verified on the record or by affidavit;

   10. That the trustee or the holder of an allowed unsecured claim objected to the confirmation of

        the plan, then the Court did not approve the plan unless, as the effective date of the plan the

        value of the property to be distributed under the plan on account of such claim is not less than

        the amount of such claim; or the plan provided that all of the debtor(s)’ projected disposable

        income to be received in the applicable commitment period beginning on the date that the first

        payment is due under the plan will be applied to make payments to unsecured creditors under

        the plan; and the “disposable income” test and related confirmation mandates of Section 1325

        (b)(2), (b)(3) and (b)(4) have been met;

   11. Property of the estate shall revest in the debtor(s) upon entry of this confirmation order,

        subject to the rights of the Trustee, if any, to assert claim to any additional property of the

        estate acquired by the debtor(s) post-petition pursuant to operation of 11 U.S.C. Section 1306.

And the trustee, having reported to the Court and having recommended confirmation of debtor(s)’

plan, the Court now adopts the trustee’s report and, therefore,
ORDERS, ADJUDGES AND DECREES
   Case 19-00219-RLM-13 Doc 58 that the debtor(s)’
                                 Filed  02/05/20 plan
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                                                          and the same is hereby Pg 4 of 4
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confirmed; and it is

FURTHER ORDERED that the trustee shall charge such percentage fee as may be periodically fixed

by the Attorney General pursuant to 28 U.S.C. Section 586(E); and it is

FURTHER ORDERED that the debtor(s) shall pay ANN M. DELANEY, Trustee, as follows:

$2,500.00 PER MONTH FOR 60 MONTHS ($150,000.00) STARTING

2/13/2019.

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